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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                    MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                               SECTION “N” (5)
THIS DOCUMENT RELATES
TO ALL CASES


                            PRETRIAL ORDER NO. 71A
 [Replacing Pretrial Order No. 71 Governing Plaintiffs’ Responsibilities Relevant to ESI]

       This Pretrial Order No. 71A amends and supersedes Pretrial Order No. 71 (Rec. Doc. 1306)

to provide Plaintiffs additional time to comply with the obligations set forth in the original Pretrial

Order No. 71.

       Concerned that certain Plaintiffs in this MDL do not appear to have adequately and timely

produced responsive electronically stored information (“ESI”) as required by the Plaintiff Fact

Sheet (“PFS”), the Court enters this Order governing Plaintiffs’ identification, preservation,

collection, and production of ESI. The Court also orders all Plaintiffs and their counsel to review

and familiarize themselves with the revised “Guidance Regarding Potential Sources of

Electronically Stored Information,” attached here as Exhibit A.

       1.       Applicability. This Order applies to all Plaintiffs in MDL 2740 and shall govern

all document requests served on Plaintiffs, including the document requests in Section IX of the

PFS and any future requests for production that may be served by Defendants.

       2.       Sources of ESI. To the extent a plaintiff used or maintained any of the following

ESI sources five (5) years prior to her docetaxel treatment or any time since her treatment, each

plaintiff shall search the following sources for responsive ESI, regardless of whether such sources

are currently in use by that plaintiff: (i) any email accounts used by plaintiff; (ii) any electronic
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devices used by plaintiff (e.g., desktop or laptop computers, tablets, mobile phones, digital

cameras); (iii) any other hardware storage devices used by plaintiff (e.g., external hard drives,

memory cards, USB or thumb drives, CDs/DVDs); (iv) any social media used by plaintiff (e.g.,

Facebook, Instagram, LinkedIn, Twitter, MySpace, YouTube, Pinterest, or other online

collaboration tools such as Google+ or Yahoo! groups); (v) any website where a plaintiff made

online postings (e.g., on a blog, message board, etc.); (vi) any cloud storage used by plaintiff (e.g.,

DropBox, Microsoft Office365 Account, Google Drive, iCloud, Amazon Drive, etc.).

       3.      Search obligations. Each plaintiff shall do reasonable searches on each of the

sources identified in ¶ 2 of this Order (to the extent they exist) to identify and collect potentially

responsive ESI for counsel review. Reasonably diligent searches may require running search

terms; reviewing files, communications, videos, and photographs; or otherwise conducting an

actual, physical search of the sources. Plaintiff’s counsel shall take an active role in identifying,

preserving, collecting, reviewing, and producing all responsive ESI. To the extent individual

plaintiff’s counsel has questions regarding these obligations, counsel shall consult with Plaintiffs’

Liaison Counsel (Palmer Lambert and Dawn Barrios), Karen Barth Menzies or Plaintiffs’ ESI

Consultant, Paul McVoy, for clarification.

       4.      Search terms. Where feasible, each plaintiff or her attorney shall run the following

terms through any available search function on the sources identified in ¶ 2. Each term should be

run separately: (a) breast cancer; (b) cancer; (c) chemotherapy; (d) chemo; (e) hair loss; (f) hair; (g)

bald; (h) taxotere; (i) docetaxel; (j) taxane; (k) alopecia; (l) sanofi; (m) pharmaceutical; (n) side

effect; (o) warning; and any other terms likely to retrieve a ESI response to a request for production.

       5.      Production format. Plaintiffs shall produce all responsive ESI in a manner that

preserves any metadata. To the extent individual plaintiff’s counsel needs assistance in how to

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properly preserve responsive metadata, counsel shall consult with Plaintiffs’ Liaison Counsel

(Palmer Lambert and Dawn Barrios), Karen Barth Menzies, or Plaintiffs’ ESI Consultant, Paul

McVoy. 1

         6.       Disclosures. Each plaintiff shall provide a written statement to Defendants signed

by the plaintiff and her attorney, which shall be produced along with the responsive documents.

To the extent that a plaintiff’s PFS and responsive documents are due, pursuant to Amended

Pretrial Order No. 22 (Rec. Doc. 325), within 105 days of December 15, 2017, i.e., the date of

entry of the original Pretrial Order No. 71 (Rec. Doc. 1306), that plaintiff shall have 105 days from

the date the PFS is due to produce the written statement. To the extent that a plaintiff’s obligation

to produce responsive documents has already come due by way of a previously submitted PFS or

other request for production by Defendants as of the date of this Order, that plaintiff shall have

105 days from December 15, 2017 to produce the written statement. 2 Notwithstanding the above

deadlines, plaintiffs identified in Case Management Order No. 3 (Rec. Doc. 669) and Case

Management Order No. 8A (Rec. Doc. 1099) shall have forty-five (45) days from December 15,

2017 to produce the written statement. Plaintiffs subject to any future Bellwether Trial Case

Management Orders, and who have not already completed the disclosure within the above

described time period, shall have twenty (20) days from the date of selection to produce the written


1
  E-mail: counsel can collect the relevant .OST and .PST files from Outlook. See how to add email accounts to Outlook
at           https://support.office.com/en-us/article/Outlook-email-setup-6e27792a-9267-4aa4-8bb6-c84ef146101b.
Facebook: see how to download Facebook data at https://www.facebook.com/help/131112897028467. iPhone: see
how to download iPhone data at https://support.apple.com/en-us/HT203977. Computer zip files: see how to collect
loose files using a .ZIP file at https://support.microsoft.com/enus/help/14200/windows-compress-uncompress-zip-
files.
2
  In the event any single law firm has more than fifty (50) written statements due on the same date for plaintiffs whose
obligation to produce responsive documents has already come due by way of a previously submitted PFS or other
request for production by Defendants as of December 15, 2017, that firm shall submit to Defendants at fifty (50)
written statements in accordance with the above schedule, an additional fifty (50) written statements within forty-five
(45) days of those submissions; and any additional written statements within forty-five (45) days of those submissions.

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statement. The written statement may be uploaded to MDL Centrality within the deadlines set forth

in this Order and shall provide:

       a. A description of any employer-owned email accounts, other individuals or other

       locations, and resources where responsive ESI may exist; and

       b. A description of unique, non-duplicative ESI within the scope of discovery that was lost

       or destroyed and whether plaintiff used any consumer backup tools (e.g., Carbonite,

       Backblaze, Crashplan, etc.).

       7.       Rule 26(g) certification. Any statement, declarations or certifications made by a

plaintiff or her attorney regarding information and documents produced in discovery in this

litigation, including the PFS declaration and the disclosure required under ¶ 5 of this Order, shall

be subject to Rule 26(g)(3).



       New Orleans, Louisiana this 26th day of January 2018.



                                              ___________________________________
                                              KURT D. ENGELHARDT
                                              UNITED STATES DISTRICT JUDGE




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                                            EXHIBIT A

Supplemental Guidance Regarding Potential Sources of Electronically Stored Information

       This document contains guidance on how a lawyer and her client can comply with their
shared discovery obligations relating to Electronically Stored Information (“ESI”). Individual
Counsel are reminded of their obligations under Federal Rule of Civil Procedure (FRCP) 26(g) to
conduct a “reasonable inquiry” into ESI. Individual Counsel are reminded of the preservation
requirements of PTO 1.

       As a reminder, the Plaintiff Fact Sheet requires that you produce with the fact sheet certain
documents and/or ESI. Specifically, you must produce [“Social media or internet posts to or
through any site (including, but not limited to, Facebook. MySpace, LinkedIn, Google Plus,
Windows Live, YouTube, Twitter, Instagram, Pinterest, blogs, and Internet chat rooms/message
boards) relating to Taxotere or Docetaxel or any of your claims in this lawsuit.”] (see PFS
[Document Request 18]) and representative photographs of your client from before her treatment,
during her treatment, 6 months after her treatment, and how your client looks today (see
[Document Requests 24-28]).

        Keep in mind, this guidance does not provide an exhaustive list of sources that any
individual may have, but it provides guidance on how you may discuss the information with your
clients. The most important thing is to try and get your clients to think about how they use their
computers, phones, and other technology so that you may then search those sources for potentially
discoverable information.

       Many times, individuals may not know what you mean with questions like “does your
phone automatically synch with the cloud?” because relatives might have helped them set up their
devices. When planning to talk with a client about these potential sources of discoverable
information, it can be helpful if the individual brings along her own personal “tech nerd” (which
may be a family member) to assist in answering questions.

         Throughout your conversations with your client, you should keep in mind that your goal is
to get that person to think about how they use technology now and how they have used technology
in the past. If you get pushback from your client, it often helps to remind her that these are typical
questions asked to everyone on both sides of the lawsuit. Assure your client of her privacy and that
both sides have a legal obligation to protect confidential information produced during the course
of the litigation.

        Another important area to cover with your clients is replacing the hardware they use, like
computers or phones. Individuals will often be involved in a case over many years and may not
realize that the desktop computers, phones or other devices they want to upgrade may contain
discoverable information. Have a discussion about future upgrades to devices and the importance
of keeping your office informed about hardware changes. Let them know that an upgrade is fine,
as long as the correct steps are taken to preserve the potentially discoverable information on the
device.



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        Finally, you only need to concern yourself with sources of information within the scope of
discovery. This can get confusing to people that are not accustomed to participating in litigation.
One example is for an individual that currently works and has a work email address. You should
only be interested in that email source IF the person sends or receives discoverable emails using
that account.

         With regard to specific sources, here are some helpful points to consider when helping your
clients think about how they communicate and store information.

        Traditional Electronically Stored Information. Email and user created documents are
what we often associate with ESI. You should consider discussing with your clients the various
email accounts they may use or may have used in the past that may contain information that may
be discoverable. Also, be sure to ask about old accounts that your clients may or may not have
access to anymore. In addition to email, be sure to ask your clients about where they save
documents that they may create, like journals or letters. It may be on a physical device or in some
cloud storage location.

        If your client says that she has emailed about her hair loss, it may be easiest to walk her
through searching that email for certain terms, like (by way of example), (a) breast cancer; (b)
cancer; (c) chemotherapy; (d) chemo; (e) hair loss; (f) hair; (g) bald; (h) taxotere; (i) docetaxel; (j)
taxane; (k) alopecia; (l) sanofi; (m) pharmaceutical; (n) side effect; (o) warning; and any other
terms likely to retrieve a ESI response to a request for production. Remember, your client has
probably never had to search for and turn emails over to a lawyer. So, you should do more than
tell your client she needs to send you emails and pictures relating to her chemotherapy and hair
loss.

        Social Media. More and more individuals communicate about their lives using social
media. Exploring the individual’s use of social media is important. In addition to the usual
questions about Facebook and twitter, try and consider asking about applications that the person
might not realize are social media, like LinkedIn or Flickr. Keep in mind that some clients may
say that they do not use social media, but during the course of the conversation will realize that
they do. You should identify both current and past accounts that your client may have used.

       Text or Instant messages. Younger people may utilize text messaging more often than
older people, but you should still discuss the use of these services with everyone.

       Photographs. The Plaintiff Fact Sheets calls for the production of certain photographs.
Photographs that your client may have to produce with the PFS may be in electronic format. You
should make every effort to collect those photographs from your client in a way that preserves the
metadata with the photographs, such as the date taken. This guidance also applies to other
documents or information your client may have. To the extent it is proportional and not unduly
burdensome, you should try to get the information in an electronic format that preserves the
information’s metadata and upload that through MDL Centrality.

      Many attorneys have been uploading PDFs of pictures with dates written or typed on the
PDF. Where possible, you should upload to Centrality a copy of the original digital file, for
example a .jpeg file and use a different method of indicating the date (such as putting the date in
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the file name). It is not helpful to print a picture that was originally in electronic form and scan it
back in, or take a picture of an electronic picture and submit that file because all potential date
information is lost. Often times, the digital version of the picture will retain in its metadata the
“date taken.” We have confirmed with the Centrality administrator that Centrality leaves this
metadata information intact. If you want to be sure that the date information is uploaded, you can
also put the date of the photograph in the name of the picture file and the “document type
description” on MDL Centrality.

        The Court has made clear that it is the Plaintiff’s obligation to provide photographic
evidence which accurately and adequately reflects Plaintiff’s hair loss injuries. Providing
sufficient photographs within 5 years prior to chemotherapy, which depict Plaintiff’s hair prior to
treatment with Taxotere, and providing sufficient current photographs, which demonstrate
plaintiff’s current hair loss following treatment with Taxotere, is needed to prove the client’s claim.

        Technology has become so pervasive in our world that oftentimes people forget about how
much they use it to communicate with their community of friends, family and others. It is
incumbent on each attorney to gently but firmly probe the responses to the PFS. If a client indicates
that she has no or very few photographs, probe beyond that initial answer. Were her children or
spouse with her at her chemotherapy treatments? Might they have pictures on their phones from
before, during or after chemotherapy treatments? Does a parent, child, or spouse have recent
picture on their phones? It should be helpful if you explain to your client why these pictures are
crucial to her case – so she understands that they are an important part of proving her case.

       Having a conversation with your clients about how they communicate and store
information up front will help focus your clients on areas that may need to be searched to see if
they have potentially discoverable information. This process will help your clients help themselves
by enabling the collection and production of the information now so as to avoid a spoliation issue
down the road. Also, as lawyers, you have all seen defense counsel ask a plaintiff about how
they communicate in depositions and whether they have information that they have not given
you. Use your experience as a lawyer, having seen what defendants look for, to also help guide
you through this process.


                    The PSC has lawyers who can assist your office if your staff has
                    general questions on how to talk to your clients about ESI, how
                    to retrieve ESI, how to upload it to Centrality, and how to
                    respond to deficiencies. Please use these lawyers as a resource.
                    For ESI-related questions, you can contact Zachary L. Wool at
                    (504) 524-3300 or zwool@bkc-law.com, or you can contact
                    Abby        McClellan       at      (816)      714-7123       or
                    mcclellan@stuevesiegel.com.




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